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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


UNITED STATES OF AMERICA                     :

                      Plaintiff              :        Case No. 3:20-cr-038 (1)

                     vs.                      :       HONORABLE WALTER H. RICE
Thompson, Steven                             :

                      Defendant              :


                      ORDER AMENDING BOND CONDITIONS


For good cause shown, the Court hereby amends the bond conditions filed in this matter on
October 9, 2019 (amended on January 15, 2020) and removes the following condition:


       1. Participate in a location restriction program and abide by all requirements of the
          program (curfew).




All other bond conditions remain in full force and effect.




       05/05/2020
Date:_______________                         /s/ Walter H. Rice (tp - per Judge Rice authorization after his review)
                                             ____________________________________
                                             HONORABLE WALTER H. RICE
                                             UNITED STATES DISTRICT COURT JUDGE
